                      IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

JASON WILLIAMS,

        Plaintiff,                                       Case No. 5:19-cv-00475-BO

vs.                                                REPORT OF THE PARTIES’
                                                     PLANNING MEETING
AT&T MOBILITY LLC,
                                                       Fed. R. Civ. P. 26(f)
        Defendant.



        REPORT OF THE PARTIES’ RULE 26(f) PLANNING MEETING
     PURSUANT TO ORDER FOR DISCOVERY PLAN DATED APRIL 2, 2020

1.      The following persons participated in a Rule 26(f) conference on April 28,
        2020 at 10:00 a.m. by teleconference:

        A.      Terence S. Reynolds
                Lucas D. Garber
                Christopher LaVigne

                Counsel for Plaintiff Jason Williams

        B.      Michael Breslin
                Joseph S. Dowdy
                Phillip A. Harris, Jr.

                Counsel for Defendant AT&T Mobility, LLC

2.      Initial Disclosures. The parties will complete by May 18, 2020 the initial
        disclosures required by Rule 26(a)(1).

3.      Discovery Plan. The parties propose this discovery plan:

        A.      Discovery will be needed on these subjects:

                (1)    Plaintiff’s allegations contained in the complaint,
                (2)    Defendant’s responses and defenses,
                (3)    Any other issues raised by the pleadings

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       B.      The parties agree that the dates for commencing and completing
               discovery, including discovery to be commenced or completed before
               other discovery, will be as follows:

               (1)   Date for commencement of discovery: May 18, 2020
               (2)   Date by which all discovery will be completed: February 19, 2021
               (3)   Dates for Rule 26 expert disclosures (with reports):
                     a. Disclosure of Plaintiff’s experts: October 16, 2020
                     b. Disclosure of Defendant’s experts: November 16, 2020
                     c. Rebuttal experts: December 16, 2021

       C.      The maximum number of interrogatories by each party to another
               party will be 25 and the answers to those interrogatories will be due 30
               days after service of the interrogatories.

       D.      The maximum number of requests for admission will be 25 and the
               answers to those requests for admission will be due 30 days after
               service of the requests for admissions.

       E.      The maximum number of depositions by each party will be 10
               (excluding expert witness depositions).

       F.      The length of each deposition will be limited to 7 hours.

       G.      Dates for exchanging reports of expert witnesses: At the time of expert
               disclosures provided above.

       H.      Supplementations under Rule 26(e) are due by February 19, 2021

       I.      The parties anticipate the need for discovery of data or information
               that is stored in an electronic format, and agree to meet and confer
               regarding the search of electronically stored information early in the
               discovery period. To the extent that information or data sought in
               discovery is stored electronically, the party from whom the data is
               requested will not be obligated to produce such information or data if
               production of such information or data is not consistent with the
               provisions of Rule 26(b). Without prejudice to either party’s rights
               under Rule 26(b)(2)(B), the parties agree that electronically stored
               information shall presumptively be produced in a searchable format.
               The parties intend to work together on a stipulated electronic
               discovery order for submission to the Court in the near future.

4.     Mediation. The parties understand that mediation is required in this matter
       pursuant to Local ADR Rule 101. The parties will identify a mediator within
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       30 days after the entry of the Court’s Scheduling Order. If the parties cannot
       agree upon a mediator, the parties will accept the clerk’s selection of a
       mediator.

5.     Other Items:

       A.      The parties do not request a meeting with the Court prior to the
               issuance of a scheduling order.

       B.      The parties request that the final pretrial conference be held as close
               to the start of trial as is reasonable and amenable to the Court.

       C.      Final dates for the plaintiff to amend pleadings or to join parties:
               November 30, 2020.

       D.      Final dates for the defendant to amend pleadings or to join parties:
               December 30, 2020

       E.      Final date to file dispositive motions: April 16, 2021

       F.      Final dates for submitting Rule 26(a)(3) witness lists, designations of
               witnesses whose testimony will be presented by deposition, and exhibit
               lists: August 30, 2021

       G.      Final dates to file objections under Rule 26(a)(3): September 20, 2021

       H.      Suggested trial date and estimated of trial length.
               (1)  Suggested trial date: October 18, 2021
               (2)  Estimated length of trial: 2 weeks

       I.      Joint Protective Order. The parties plan to draft a Joint Protective
               Order to govern the discovery of potentially confidential information
               and will seek the Court’s approval of the Protective Order in the near
               future.

       J.      The parties agree that the inadvertent production of privileged
               information should not waive or otherwise compromise any applicable
               privilege or preclude the party from asserting privilege claims after
               production and intend to submit a joint Rule 502(d) order to the Court
               for consideration.




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Respectfully submitted this 12th day of May, 2020.

For Plaintiff:

                            /s/ Terence S. Reynolds
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                            Lucas D. Garber
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                            Counsel for Plaintiff Jason Williams

For Defendant:

                            /s/ Joseph S. Dowdy
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                            Phillip A. Harris, Jr. (N.C. State Bar No. 39740)
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                            CERTIFICATE OF SERVICE

      I hereby certify that on date set out below, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system which will send

notification of such filing to the following:

SHUMAKER LOOP & KENDRICK LLP                        WITHERS BERGMAN LLP
Terence S. Reynolds                                 Christopher LaVigne
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101 South Tyron Street
                                                    Counsel for Plaintiff Jason Williams
Suite 2200
Charlotte, North Carolina 28280
Counsel for Plaintiff Jason Williams




       This the 12th day of May, 2020.

                                                     /s/ Joseph Dowdy
                                                     Joseph S. Dowdy




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